        Case 2:21-cv-01463-MHH Document 1 Filed 11/01/21 Page 1 of 3                    FILED
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                                                                               U.S. DISTRICT COURT
                                                                                   N.D. OF ALABAMA


          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION

TIFFANY Y. RICHARDSON,                )
                                      )
            Plaintiff,                )
v.                                    )       CIVIL ACTION NUMBER:
                                      )       _______________________
CONTOUR COMPANIES,                    )
                                      )
            Defendant.                )

                            NOTICE OF REMOVAL

      On July 18, 2021, Tiffany Richardson filed a Complaint in the Circuit Court

for Jefferson County, Alabama pursuant to which a civil action (the “State Court

Action”) was commenced. A copy of the Complaint is attached hereto as Exhibit 1.

No process or orders have been filed in the State Court Action. A copy of the State

Court Action docket sheet is attached hereto as Exhibit 2.

      In her Complaint, Richardson invokes jurisdiction pursuant to “Title VII of

the Civil Rights Act of 1964, as amended as well as the Americans with Disabilities

Act, as amended (“ADAA”); 42 U.S.C. 12101, et seq.” See Complaint at p. 1. Title

VII, the ADAA, and 28 U.S.C. § 1441 confer upon this court original jurisdiction

over Richardson’s claims. Although Richardson alleges in her Complaint that she

“has initiated her EEOC charge and received her ‘Notice of Right to Sue’ letter

pursuant to Title VII and ADA prior to filing this complaint,” no EEOC charge or


                                          1
         Case 2:21-cv-01463-MHH Document 1 Filed 11/01/21 Page 2 of 3




right-to-sue letter is attached to her complaint or otherwise in the record in the State

Court Action.

      The Complaint names “Contour Companies” as the defendant. On

information and belief, “Contour Companies” is not a legal entity. To the extent

Richardson intended (but failed) to sue Contour Companies LLC (“Contour LLC”),

Contour LLC removes the State Court Action to this court. Contour LLC denies that

it has ever been Richardson’s employer as Title VII or the ADAA define “employer”

and similarly denies that she has ever been an employee of Contour LLC as defined

by those statutes.

      A Charge of Discrimination Richardson filed on or about December 8, 2020,

in which she names “Contour Companies” as the employer she believes

discriminated against her is attached hereto as Exhibit 3. The EEOC charge bears

case number 420-2021-00582. On or about April 22, 2021, the EEOC issued a

Dismissal and Notice of Rights in case number 420-2021-00582. A copy of the

Dismissal and Notice of Rights is attached hereto as Exhibit 4.



                                               /s/William K. Hancock
                                               William K. Hancock
                                               Attorney for Contour Companies LLC




                                           2
        Case 2:21-cv-01463-MHH Document 1 Filed 11/01/21 Page 3 of 3




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                         CERTIFICATE OF SERVICE

I hereby certify that on the 1st day of November, 2021, I will serve all attorneys of
record as follows:


                   Terrell E. McCants
                   Burrell & McCants, LLC
                   712 32nd Street South
                   Birmingham, AL 35233
                   terrell@burrellmccants.com


                                             /s/William K. Hancock
                                             Of Counsel




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